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                Exhibit 4
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                                      KYLE MIKOWSKI                       October 22, 2018


1                        UNITED STATES DISTRICT COURT
2                       CENTRAL DISTRICT OF CALIFORNIA
3
4       NEFTALI MONZON, as Personal   )
        Representative of the         )
5       Estate of JUNEF RAGADIO       )
        MONZON and individually;      )
6       MARYLOU MONZON, as Personal   )
        Representative of the         )
7       Estate of JUNEF RAGADIO       )
        MONZON and individually;      )
8       JERRICO REYES, an             )
        individual,                   )
9                                     )
                  Plaintiffs,         )
10                                    )
            v.                        )         Case No.
11                                    )         2:17-CV-13712
        CITY OF MURRIETA, a           )
12      governmental entity; SCOTT    )
        MONTEZ, an individual;        )
13      CHRIS ZELTNER, an             )
        individual; KYLE MIKOWSKI,    )
14      an individual; ZACH           )
        BRADLEY, an individual AND    )
15      BLAKE WILLIAMS, an            )
        individual, and DOES 1        )
16      through 10,                   )
                                      )
17                Defendants.         )
        ______________________________)
18
19                     DEPOSITION OF KYLE MIKOWSKI
20                 MONDAY, OCTOBER 22, 2018, 10:05 A.M.
21                           CORONA, CALIFORNIA
22
23             Reported by R. Kelly Jacobson, CSR No. 8361
                            CLS Job No. 91089
24
25                      CENTEXTLEGAL.COM - 855.CENTEXT


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1                        UNITED STATES DISTRICT COURT
2                       CENTRAL DISTRICT OF CALIFORNIA
3
4       NEFTALI MONZON, as Personal   )
        Representative of the         )
5       Estate of JUNEF RAGADIO       )
        MONZON and individually;      )
6       MARYLOU MONZON, as Personal   )
        Representative of the         )
7       Estate of JUNEF RAGADIO       )
        MONZON and individually;      )
8       JERRICO REYES, an             )
        individual,                   )
9                                     )
                  Plaintiffs,         )
10                                    )
            v.                        )         Case No.
11                                    )         2:17-CV-13712
        CITY OF MURRIETA, a           )
12      governmental entity; SCOTT    )
        MONTEZ, an individual;        )
13      CHRIS ZELTNER, an             )
        individual; KYLE MIKOWSKI,    )
14      an individual; ZACH           )
        BRADLEY, an individual AND    )
15      BLAKE WILLIAMS, an            )
        individual, and DOES 1        )
16      through 10,                   )
                                      )
17                Defendants.         )
        ______________________________)
18
19
20           DEPOSITION OF KYLE MIKOWSKI, taken at
21      4740 Green River Road, Suite 203, Corona, California, on
22      Monday, October 22, 2018, at 10:05 a.m., before
23      R. Kelly Jacobson, Certified Shorthand Reporter, in and
24      for the State of California.
25


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                                       KYLE MIKOWSKI                      October 22, 2018


1       APPEARANCES:
2
3       For Plaintiffs:
4                   LAW OFFICES OF DALE K. GALIPO
                    BY: MARCEL F. SINCICH, ESQ.
5                   21800 Burbank Boulevard, Suite 310
                    Woodland Hills, California 91367
6                   818.347.3333
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7
                           -and-
8
                    THE SEHAT LAW FIRM
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                    949.825.5200
11                  cameron@sehatlaw.com
12      For Defendants:
13                  FERGUSON, PRAET & SHERMAN
                    BY: ALLEN CHRISTIANSEN, ESQ.
14                  1631 East 18th Street
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15                  714.953.5300
                    achristiansen@law4cops.com
16
17
        Also Present:
18
                    BLAKE WILLIAMS
19
20
21
22
23
24
25


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1             A    I had a police service dog.
2             Q    Okay.   What kind of dog was that?
3             A    He's a Belgian Malinois.
4             Q    And what type of service does that dog do?            I
5       understand that there's potentially different types of
6       dogs that can be --
7             A    He's used as a locating tool --
8             Q    Okay.
9             A    -- for people or things.
10            Q    Okay.   So is it just to sniff something out
11      and then alert you when they find it?           Is that all he's
12      used for?
13            A    He's used to locate articles and used to
14      locate people.
15            Q    Okay.   Does he attack people if they are
16      aggressive or something like that?
17            MR. CHRISTIANSEN:      I'll object to the term
18      "attacked."
19            THE WITNESS:     He apprehends people.
20      BY MR. SINCICH:
21            Q    Can you describe what "apprehend" means based
22      off your training?
23            A    If a subject is concealed in an area the dog
24      is used to locate that person.         If that person doesn't
25      comply, he is trained to bite and hold that person till


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                                      KYLE MIKOWSKI                       October 22, 2018


1       hypothetical.      It calls for speculation.       Vague and
2       ambiguous.
3             THE WITNESS:     You don't need the push bumper to use
4       a vehicle in an intervention technique during a pursuit.
5       That push bumper is merely there for protection of other
6       vehicles.
7       BY MR. SINCICH:
8             Q    Okay.   Is there any other armor on your
9       vehicle at all?
10            A    No.
11            Q    Are the windows ballistic in any way or
12      anything like that?
13            A    No.
14            Q    And I take it your canine traveled in the back
15      seat of the vehicle?
16            A    Yes.
17            Q    Is that in some form of cage?
18            A    Yes.
19            Q    Did you have a Glock?       You mentioned --
20            A    Yes.
21            Q    What type of round were you using?
22            A    Nine millimeter.
23            Q    Do you know what type of ammunition it was?
24            A    No.
25            Q    Whether it was ball or hollow point or


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1       provided.
2             Q    What was included with the transcript besides
3       just the transcript of you and the inspector speaking?
4             A    There was a printout of two pictures that was
5       attached to my statement.
6             Q    And were those two pictures that you drew on
7       during your statement?
8             A    Yes.    One was.
9             Q    Okay.   You weren't given any kind of
10      photographs of the scene then to review for today?
11            A    Like realtime photos?
12            Q    Just any kind of photograph.
13            A    No.
14            Q    Okay.   Those -- those images that you saw that
15      were attached to your transcript, those were Google Map
16      images?
17            A    Yes.
18            Q    Okay.   So your statement, it was a voluntary
19      statement?
20            A    Yes.
21            Q    Who took the statement from you?
22            A    I don't know the name.
23            Q    Okay.   Was it Sheriff's?
24            A    Yes.
25            Q    Do you recall what time you gave your


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1       statement?
2             A    It's about 2:00 in the afternoon.          I don't
3       know the date.
4             Q    Was it the same day of the incident?
5             A    So I said before that it was the 22nd and you
6       said it was the 21st, so it would have been the 22nd of
7       October at 2:00 o'clock in the afternoon -- around
8       2:00 o'clock.
9             Q    So that was about 12 hours or so after the
10      incident.
11                 Do you recall that?
12            A    I don't know the time the incident took place.
13            Q    It was at night, though; right?
14            A    Or early morning hours.       I don't know.
15            Q    Was it dark outside?
16            A    Yeah.
17            Q    Okay.   Now, when you gave your statement who
18      else was in the room with you?
19            A    I believe there were two investigators and an
20      attorney was present.
21            Q    Were you able to speak with your attorney
22      beforehand?
23            A    Yes.
24            Q    How long, approximately, did you speak with
25      your attorney?


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1             A    Once.
2             Q    Were you able to see any incident reports or
3       anything after the incident between the incident and
4       today?
5             A    No.
6             Q    Any other officers' statements, had you ever
7       seen any of them since giving the statements until
8       today?
9             A    No.
10            Q    What was your height and weight at the time of
11      the incident?
12            A    Around five-eight and 160.
13            Q    A hundred and sixty pounds?
14            A    Yes.
15            Q    Okay.   Did you graduate from high school?
16            A    Yes.
17            Q    What year was that?
18            A    2004.
19            Q    Did you go to college after that or did you
20      start work?
21            A    College.
22            Q    And how long did you go to college?
23            A    Three years.
24            Q    Did you get a degree?
25            A    Yes.


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1             Q    Do you recall if you were trained with the
2       POST standards at the academy?
3             A    Yes.
4             Q    So I take it you graduated from the academy
5       sometime in the summer of '08?
6             A    It was July.
7             Q    July.    What was your first duty assignment
8       with San Diego?
9             MR. CHRISTIANSEN:       Objection, calls for
10      speculation.      Assumes facts not in evidence.
11            THE WITNESS:     Northeastern Division patrol.
12      BY MR. SINCICH:
13            Q    How long were you with the San Diego Police
14      Department?
15            A    About 3 and a half years.
16            Q    Were you patrol the whole time or did you have
17      any other duty assignments?
18            A    Patrol the whole time.
19            Q    Okay.    And did you go to any other police
20      departments after that?
21            A    Yes.
22            Q    Where was that?
23            A    The Murrieta Police Department.
24            Q    What month and year did you go to the Murrieta
25      Police Department?


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1             A    Normal patrol.
2             Q    Okay.    So how long had you had Pak prior to
3       the incident?
4             A    Oh, approximately a year.
5             Q    Were you his first canine handler?
6             A    Yes.
7             Q    As a canine handler do you train the canine to
8       do all of the responsibilities of a police canine?
9             A    Yes.
10            Q    Is a canine considered a force option in the
11      Murrieta Police Department?
12            A    Yes.
13            Q    And what level of force is it categorized at?
14            A    It's a less lethal use of force.
15            Q    Is it equivalent to any other force, like a
16      bean bag shotgun or something like that?
17            MR. CHRISTIANSEN:       Objection, calls for
18      speculation.
19            THE WITNESS:     I don't know exactly where the police
20      service dog falls on the use of force matrix.             I don't
21      know what you could equate it to.          It's just a different
22      type of force.
23      BY MR. SINCICH:
24            Q    Okay.
25            A    It does require some type of resistance to


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                                       KYLE MIKOWSKI                      October 22, 2018


1       utilize the dog.
2             Q    Right.    And so when the -- when the dog is
3       deployed it has to be reasonable; correct?
4             A    Yes.
5             MR. CHRISTIANSEN:       Objection, incomplete
6       hypothetical.      It calls for speculation.
7       BY MR. SINCICH:
8             Q    Just like any other use of force option,
9       it's -- it's judged in terms of use by reasonableness?
10            MR. CHRISTIANSEN:       Objection, incomplete
11      hypothetical.      It calls for speculation.
12            THE WITNESS:     Yes.
13      BY MR. SINCICH:
14            Q    Now, when you went to Murrieta Police
15      Department did you have to do any training with -- with
16      Murrieta when you transferred from San Diego?
17            A    I went through a field training program.
18            Q    How long was that?
19            A    I do not know.
20            Q    Do you know approximately?          Was it weeks?
21      Months?
22            A    Approximately eight weeks.
23            Q    Okay.    But they don't require you to go to
24      another academy or anything like that?
25            A    No.


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1       BY MR. SINCICH:
2             Q    Okay.    So between 10 and 50 vehicle pursuits.
3                  Had you ever, before the incident, experienced
4       in one of those vehicle pursuits where the suspect
5       vehicle turned around and started to drive in the
6       direction of the pursuit officers' vehicles?
7             A    Yes.
8             Q    Approximately how many times did that occur?
9             A    Less than five.
10            Q    Okay.    In any of those less than five
11      occasions during a vehicle pursuit where the suspect
12      vehicle turned around prior to the incident, did you use
13      force?
14            A    No.
15            Q    And that includes lethal force?
16            A    No.
17            Q    It does not include lethal force?
18            A    I didn't use any lethal force during any of
19      those incidents.
20            Q    Okay.    In any of your previous, before the
21      incident, vehicle pursuits had they have concluded in a
22      dead end?
23            A    Not that I recall.
24            Q    Do you recall any training either in the
25      academy or in the field with either San Diego Police


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1       Department or Murrieta Police Department where you were
2       trained to deal with vehicle pursuits that concluded in
3       a dead end street?
4             A    No.
5             Q    Have you ever encountered, before the
6       incident, a suspect with a gun?
7             MR. CHRISTIANSEN:       Objection, irrelevant.
8             THE WITNESS:     Just relating to a vehicle pursuit?
9       BY MR. SINCICH:
10            Q    No, just a suspect armed with a gun.
11            A    Yes.
12            Q    And on how many occasions?
13            A    More than 10.
14            Q    Okay.    Did you shoot at any of those suspects
15      that were armed with a gun on those over 10 occasions
16      prior to the incident?
17            MR. CHRISTIANSEN:       Objection, relevance.
18            THE WITNESS:     No.
19      BY MR. SINCICH:
20            Q    Is it your understanding that in accordance
21      with Murrieta Police Department policies that you cannot
22      shoot someone merely for having a gun?
23            MR. CHRISTIANSEN:       Objection, incomplete
24      hypothetical.      It calls for speculation.
25            THE WITNESS:     Yes.


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1       BY MR. SINCICH:
2             Q    Did the periodic training include training on
3       the use of force?
4             A    Yes.
5             Q    And did you receive any periodic training at
6       your time with the Murrieta Police Department?
7             A    Yes.
8             Q    Did that also include training with regard to
9       the use of force?
10            A    Yes.
11            Q    In that periodic training did you also go over
12      the POST standards?
13            A    Yes.
14            Q    Had you had periodic training prior to the
15      incident on vehicle pursuits?
16            A    Yes.
17            Q    Did that include when you can and cannot shoot
18      at a moving vehicle?
19            A    I don't remember specifically about that.
20            Q    Okay.    How were you alerted to the incident?
21            A    Radio traffic.
22            Q    What did you hear from radio traffic?
23            A    Officer Zeltner ran a license plate that came
24      back stolen.
25            Q    Do you recall if you heard dispatch letting


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1              A   Yes.
2              Q   Okay.    I just want to make sure I'm using the
3       right terminology.
4                  So after you heard that Officer Zeltner
5       discovered that a vehicle was stolen did you have any
6       other information about the occupants of the vehicle?
7              A   No.
8              Q   What did you do after you heard that?
9              A   I left the police station and I drove to
10      Officer Zeltner's last known location.
11             Q   Do you recall where his last known location
12      was?
13             A   It was coming from a hotel off of Madison and
14      Murrieta Hot Springs.
15             Q   At the time did you finish your report that
16      you were writing or did you abandon them to finish
17      later?
18             MR. CHRISTIANSEN:      Objection, relevance.
19             THE WITNESS:    I don't remember.
20      BY MR. SINCICH:
21             Q   Do you recall how long it took you to get to
22      the last known location after you heard that first radio
23      traffic?
24             A   Less than two minutes.
25             Q   Okay.    Was your canine already with you?          Was


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                                        KYLE MIKOWSKI                     October 22, 2018


1             A    I'd say less than 30 seconds.
2             Q    Okay.    So for that 30 seconds were you and
3       Officer Zeltner generally following the van?
4             A    We were stopped at a stoplight.
5             Q    Okay.    Okay.    And so I take it the light
6       turned green?
7             A    Yes.
8             Q    Then thereafter did Officer Zeltner turn his
9       lights and sirens on?
10            A    Yes.
11            Q    And do you know what the purpose of that was?
12            A    To conduct a felony traffic stop on the
13      vehicle.
14            Q    Was it a felony traffic stop at the time?
15            A    That's how we generally treat occupied stolen
16      vehicles.
17            Q    Okay.    When Officer Zeltner turned on his
18      lights and sirens did you also turn on your lights and
19      sirens?
20            A    Yes.
21            Q    Where were you when you turned on your lights
22      and sirens?
23            A    Directly behind Officer Zeltner's vehicle.
24            Q    Okay.    Were you still on one of the streets
25      Murrieta or Madison?


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1             A    We were on Murrieta Hot Springs.
2             Q    Okay.    And then what happened?
3             A    The vehicle turned northbound onto the
4       15 Freeway on-ramp.
5             Q    Okay.    I take it that he was fleeing from
6       being stopped?
7             A    Yes.
8             Q    Okay.    And was that what initiated the vehicle
9       pursuit?
10            A    Yes.
11            Q    Now, prior to you turning on your lights and
12      sirens, did any other patrol vehicles join in the
13      pursuit?
14            A    Yes.
15            Q    Do you recall how many officers joined?
16            A    I know there was one officer behind me once we
17      were on the freeway, but after that I don't know.
18            Q    Okay.    Do you recall the street that the
19      pursuit ended?
20            A    Mesa Drive.
21            Q    And do you recall how long it was from the
22      time that you first turned on your lights and sirens to
23      the time that you got onto Mesa Drive?
24            A    No.
25            Q    Is there any range estimate?         Was it a half an


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                                       KYLE MIKOWSKI                      October 22, 2018


1       hour or two minutes?
2             MR. CHRISTIANSEN:       Objection, asked and answered.
3       It calls for speculation.
4             THE WITNESS:     Around 10.
5       BY MR. SINCICH:
6             Q    Okay.    During that vehicle pursuit did you
7       see -- were you able to maintain a visual on the van the
8       entire time?
9             A    No.
10            Q    Were there portions of the vehicle pursuit
11      where you were able to maintain a visual on the van?
12            A    Yes.
13            Q    And when you were able to see the van, did the
14      van -- was it involved in any vehicle accidents during
15      the pursuit?
16            A    Yes.
17            Q    What kind of vehicle accident was it involved
18      in?
19            A    The van crashed itself into a fence.
20            Q    And what street was that on?
21            A    Mesa Drive.
22            Q    Right.    So prior -- prior to Mesa Drive -- I'm
23      sorry if I wasn't clear before.
24                 So from the time that you initiated your
25      lights and sirens to the time that you turned on


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1       Mesa Drive, so prior to the officer-involved shooting
2       that happened on Mesa Drive, did you see the van get
3       into a collision with anybody?
4             A    No.
5             Q    During this pursuit did you hear any other
6       radio traffic about the occupants of the van?
7             MR. CHRISTIANSEN:       I'll object that it lacks
8       foundation.      Assumes facts not in evidence that there
9       were occupants and not "occupant."
10                 You can answer.
11            THE WITNESS:     I don't remember.
12      BY MR. SINCICH:
13            Q    Okay.    Do you recall if there was any radio
14      traffic at all during the vehicle pursuit?
15            A    Yes.
16            Q    What radio traffic do you recall hearing?
17            A    Speeds, traffic conditions, direction of
18      travel.
19            Q    Is that it?
20            A    Uh-huh.
21            Q    Okay.    What were the general traffic
22      conditions that you recall hearing on the radio?
23            A    Light to no traffic.
24            Q    Okay.    Was it generally not very many cars on
25      the road?


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1              A   No.
2              Q   Was that due to the time of day?
3              MR. CHRISTIANSEN:      Objection, calls for
4       speculation.
5              THE WITNESS:    Yes.
6       BY MR. SINCICH:
7              Q   Do you recall hearing any radio traffic that
8       alerted officers that Mesa Drive was going to be a dead
9       end?
10             A   Yes.
11             Q   Where were you in the pursuit when you heard
12      that radio traffic?
13             A   I was in the No. 3 position.
14             Q   Do you recall what road you were on?
15             A   No.
16             Q   Were you on Mesa Drive at that time?
17             A   No.
18             Q   Do you know if any of the officers were on
19      Mesa Drive at the time that you heard that alert?
20             A   I don't know.
21             Q   Do you recall who gave the radio transmission?
22             A   I do not know.
23             Q   Do you have a GPS in your vehicle?
24             A   Yes.
25             Q   Do you frequently look at the GPS while you're


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1       driving to get oriented to the area?
2             MR. CHRISTIANSEN:       I'll object that it calls for
3       speculation.      Assumes facts not in evidence.         Incomplete
4       hypothetical.
5             THE WITNESS:     It would depend.        Under certain
6       circumstances for safety while driving.
7       BY MR. SINCICH:
8             Q    Right.    Okay.    Mesa Drive, is that in the
9       Murrieta Police Department jurisdiction?
10            A    No.
11            Q    Were you familiar with Mesa Drive at all prior
12      to the incident?
13            A    No.
14            Q    Do you recall looking at your GPS at any point
15      in time during the vehicle pursuit?
16            A    No.
17            Q    Do you recall making any radio transmissions
18      during the vehicle pursuit?
19            A    Yes.
20            Q    What radio transmissions did you make?
21            A    I initially was going to be the primary
22      officer calling the pursuit.
23            Q    What does that mean being a primary officer
24      calling the pursuit?
25            A    That means I was initially in the


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1       No. 2 position, so I would allow the first officer just
2       to solely drive and I would take care of radio
3       transmissions as far as direction of travel, speeds,
4       traffic conditions.
5             Q    Okay.    Did you give any other radio
6       transmissions besides direction of travel and speed?
7             A    Yes.
8             Q    What were those?
9             A    For the safety of officers that if -- at the
10      end of the pursuit the canine may be utilized for their
11      safety.
12            Q    Okay.    Do you recall specifically if you said
13      that the canine may be utilized?
14            MR. CHRISTIANSEN:       Objection, asked and answered.
15            THE WITNESS:     I don't know exactly what I said.
16      BY MR. SINCICH:
17            Q    Okay.    Was the intent of you saying that the
18      canine may be utilized to make sure that the officers
19      were safe?
20            A    Yes.
21            Q    Why is that?
22            A    Sometimes if officers aren't informed that a
23      dog is present and the dog gets loose an officer, by
24      mistake, can run from the dog and an accidental bite
25      might occur.


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1             A    I believe sometime during the pursuit someone
2       said that I was unreadable.
3             Q    Okay.    Do you know if the radio issues were
4       isolated to your particular radio?
5             MR. CHRISTIANSEN:       Objection, calls for
6       speculation.
7             THE WITNESS:     I don't know.
8       BY MR. SINCICH:
9             Q    Okay.    Were you ever made aware if anybody
10      else was having radio issues?
11            A    No.
12            Q    All right.     But you said eventually you moved
13      to the No. 3 position in the pursuit?
14            A    Yes.
15            Q    Then you were no longer the primary pursuit
16      calling officer?
17            A    Yes.
18            Q    Okay.    When you alerted the officers that you
19      may use the canine at the incident, do you recall where
20      you were in the pursuit?
21            A    No.
22            Q    Was it close to the conclusion of the pursuit
23      or was that early on in the pursuit; do you recall?
24            A    I didn't know when it was going to conclude.
25      It was sometime during the pursuit.


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1             Q    Okay.    Were there any specific purposes that
2       you had in mind for utilizing the canine?
3             A    Yes.
4             Q    What were those?
5             A    If at the termination someone from the car
6       either ran from it, if they decided to barricade
7       themselves in the car.
8                  There's a lot of things that could have
9       happened that the dog could have been utilized for, but
10      you don't know that until it happens.
11            Q    Right.    Is there a Murrieta Police Department
12      policy that you're aware of in terms of how close you're
13      supposed to stay between your vehicle and the suspect
14      vehicle during a vehicle pursuit?
15            A    No.
16            Q    Do you know if there's a policy on whether or
17      not you're supposed to be maintaining visual of the
18      suspect vehicle during a pursuit?
19            A    Not that I recall.
20            Q    Do you recall if there's any Murrieta Police
21      Department policy with regard to what an officer should
22      do if they're having radio problems during a vehicle
23      pursuit?
24            MR. CHRISTIANSEN:       I'm going to object that it's
25      outside the scope.       He's not here as a PMK on policy.


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1             THE WITNESS:     Not that I recall.
2       BY MR. SINCICH:
3             Q    Eventually you said the vehicle pursuit got to
4       Mesa Drive.
5                  Did you have to turn onto Mesa Drive?
6             A    Yes.
7             Q    Which direction did you turn onto Mesa Drive?
8             A    I turned right.
9             Q    Okay.    By the time that you turned right on
10      Mesa Drive had other officers already turned right on
11      Mesa Drive?
12            A    Yes.
13            Q    Were you able to see those officers turn
14      right?
15            A    Yes.
16            Q    Were you able to see the suspect vehicle turn
17      right as well on Mesa Drive?
18            A    No.
19            Q    How far were you from the next officer by the
20      time that you turned right on Mesa Drive?
21            MR. CHRISTIANSEN:       Objection, vague and ambiguous.
22            THE WITNESS:     I'd say probably five, eight car
23      lengths behind Officer Bradley.
24      BY MR. SINCICH:
25            Q    Was Officer Bradley the second patrol unit in


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1       BY MR. SINCICH:
2             Q    Okay.    Do you recall if they also alerted
3       officers to be careful?
4             A    I don't recall.
5             Q    All right.     I want to bring you to the time
6       where you first turned onto Mesa Drive.
7                  Were you able to see the suspect vehicle at
8       that time?
9             A    Just the back end taillights of it.
10            Q    Were you able to see Officer Zeltner and
11      Officer Bradley's vehicles at that time?
12            A    Yes.
13            Q    Were their vehicles already stopped or were
14      they still moving?
15            A    I don't recall.
16            Q    You say you saw the back end of the suspect
17      vehicle.    Can you describe that a little bit better?
18            A    So it was still driving away from me towards
19      the end of the roadway.
20            Q    Okay.    Do you recall what direction you were
21      facing after you turned right on Mesa Drive?
22            A    South.
23            Q    Okay.    So when you first turned south onto
24      Mesa Drive, you could still see the van driving south?
25            A    Yes.


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1             Q    Okay.    Eventually you came to a stop in your
2       vehicle?
3             A    Yes.
4             Q    How long after you turned right onto Mesa
5       Drive did it take for you to come to the stop?
6             A    Less than 10 seconds.
7             Q    In that less than 10-seconds time for you to
8       come to a stop were you able to see the suspect vehicle
9       moving at all?
10            A    Yes.
11            Q    What was the suspect vehicle doing?
12            A    It started to turn left.
13            Q    So the suspect vehicle was moving south and
14      then you began to see the suspect vehicle turning to the
15      east?
16            A    Yes.
17            Q    How far did it turn?
18            MR. CHRISTIANSEN:       Vague.
19            THE WITNESS:     I don't have a specific distance.          It
20      just started to turn left.
21      BY MR. SINCICH:
22            Q    If direct south is 12:00 o'clock and direct
23      east would then be from -- from the position of -- of
24      the van, direct east would have been 9:00 o'clock --
25            A    Okay.


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1             Q    -- what time frame would it have been facing
2       from the time you saw it turning left?
3             MR. CHRISTIANSEN:       Objection, vague.      Incomplete.
4       Calls for speculation.        Vague as to time.
5                  You can answer if you understand.
6             THE WITNESS:     It wasn't 9:00 o'clock, so prior to
7       9:00 o'clock.      So around the 10:00, 11:00 range.
8       BY MR. SINCICH:
9             Q    Okay.    Did the suspect vehicle stop when it
10      was facing in that direction?
11            A    Yes.
12            Q    Were you still moving in your vehicle when you
13      saw the suspect vehicle turn to the left and stop?
14            A    I was coming to a stop.
15            Q    In that less than 10-second time frame did you
16      see Officer Zeltner's vehicle at all?
17            A    He was stopped.
18            Q    Did you see Officer Zeltner getting out of his
19      vehicle at all?
20            A    Briefly.
21            Q    What did you see from Officer Zeltner?
22            A    Just him getting out of his car.
23            Q    Did you see where he went?
24            A    No.
25            Q    When Officer Zeltner was getting out of his


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1       car was that when the suspect vehicle was turning to the
2       left?
3             A    It was in that time frame, yes.
4             Q    And then you lost sight of Officer Zeltner?
5             A    Yes.
6             Q    Do you know why you lost sight of
7       Officer Zeltner?
8             MR. CHRISTIANSEN:       Calls for speculation.
9             THE WITNESS:     Because I exited my police car.
10      BY MR. SINCICH:
11            Q    Okay.    Prior to you exiting your police car --
12      and I know we're coming up on close to an hour, so we'll
13      take a break in just a minute --
14            MR. CHRISTIANSEN:       Yeah, I need to take a break.
15      BY MR. SINCICH:
16            Q    Prior to you exiting your police car, in that
17      less than 10-second time frame from when you turned left
18      on Mesa Drive to you coming to a stop, were you able to
19      see Officer Bradley's vehicle?
20            A    Yes.
21            Q    Was Officer Bradley's vehicle stopped when you
22      were able to observe it?
23            A    Yes.
24            Q    Did you see Officer Bradley doing anything?
25            A    I do not recall.


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1                  And if you recall anything at any point in
2       time during the deposition, feel free just like that to
3       stop me and say "I recall this."
4             A    Okay.
5             Q    Okay.    So we're coming to the time where you
6       were stopped in your patrol vehicle on Mesa Drive.
7             MR. SINCICH:     I want to mark this image as
8       Exhibit 33.
9                  And I'm placing Exhibit 33 in front of the
10      deponent.
11           (Exhibit 33 marked)
12      BY MR. SINCICH:
13            Q    Do you recognize that street that's depicted
14      in the image?
15            A    Yes.
16            Q    Is that Mesa Drive?
17            A    Yes.
18            Q    And do you recognize the vehicles that are
19      depicted in that image?
20            A    Yes.
21            Q    Which vehicles can you see?
22            A    I see a marked Explorer.        Then in front of the
23      marked Explorer is my police vehicle.
24            Q    Is your vehicle the closest to -- in
25      perspective, to the person taking the picture?


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1             A    No.
2             Q    Whose vehicle is closest in perspective?
3             A    I believe that was Officer Williams and
4       Sgt. Montez' vehicle.
5             Q    Okay.    Then in front of that is your vehicle?
6             A    Yes.
7             Q    Okay.    Now, I know that you mentioned that it
8       was dark out during this vehicle pursuit, so this
9       picture was taken during the daytime, but are the
10      traffic conditions on the street the same as when you
11      turned right onto Mesa Drive?
12            MR. CHRISTIANSEN:       Calls for speculation.
13            THE WITNESS:     Yes.
14      BY MR. SINCICH:
15            Q    So there were no cars parked on either side of
16      the road on Mesa Drive?
17            A    No.
18            Q    And there were no other vehicles besides those
19      that were engaged in the vehicle pursuit on Mesa Drive?
20            A    Correct.
21            Q    Were there any headlights or anything on
22      Mesa Drive?
23            MR. CHRISTIANSEN:       Headlights?
24            MR. SINCICH:     Overhead lights.        Streetlights.
25            THE WITNESS:     Not that I recall.


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1       BY MR. SINCICH:
2             Q    Okay.    So you said you were coming to a stop
3       when you saw the suspect vehicle stopping after he made
4       the left-hand turn; is that right?
5             A    Yes.
6             Q    And then did you see the suspect vehicle do
7       anything else after that?
8             A    As I was getting out of my driver's seat I saw
9       it start to reverse.
10            Q    Okay.    Can you describe how it was reversing?
11            A    It was reversing in a backwards arc shape.
12            Q    And arc in which direction?
13            A    An arc with the back of the vehicle going
14      towards the -- it would be the -- let's see -- southwest
15      direction.
16            Q    Okay.    How long was the vehicle stopped for
17      before it started to move back?
18            A    Momentarily.
19            Q    Momentarily, I guess, can mean different
20      things to different people.
21                 Was it a couple of seconds?
22            A    Less than a couple of seconds.
23            Q    Okay.    And then you got out of your vehicle?
24            A    Yes.
25            Q    Were you able to see Officer Zeltner at the


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1       time?
2             A    No.
3             Q    Were you able to see Officer Bradley at the
4       time?
5             A    No.
6             Q    What did you do after you got out of your
7       vehicle?
8             A    I went to the back driver's side -- driver's
9       side passenger vehicle to get my police dog out.
10            MR. SINCICH:     I'll mark this image as 34.
11                 And I'll hand 34 for identification to the
12      deponent.
13           (Exhibit 34 marked)
14      BY MR. SINCICH:
15            Q    Do you recognize what is depicted in this
16      image?
17            A    Yes.
18            Q    And whose vehicle is it that we're looking at
19      with the door open that's closest in perspective?
20            A    Mine.
21            Q    Okay.    So is this generally your perspective
22      when you were getting out of your vehicle as you were
23      then going to get your canine?
24            A    It was dark.
25            Q    Right.    But this would have been your


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1       perspective when you got out of the vehicle?
2             MR. CHRISTIANSEN:       Objection, vague.
3       BY MR. SINCICH:
4             Q    If you look in that direction.
5             A    During darkness, yes.
6             Q    So when you got out of your vehicle you went
7       over to the door that's directly behind your driver's
8       door?
9             A    Yes.
10            Q    Did you leave your driver's door open as
11      depicted in this image?
12            A    Yes.
13            Q    Was it open wider or was it closed more than
14      it is in this image?
15            A    I don't recall.
16            Q    Okay.
17            MR. SINCICH:     I'll mark this one as 35.
18                 And I'll hand Exhibit 35 for identification to
19      the deponent.
20           (Exhibit 35 marked)
21      BY MR. SINCICH:
22            Q    Do you recognize the vehicle that's depicted
23      in Exhibit 35?
24            A    Yes.
25            Q    Whose vehicle is that?


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1             A    Mine.
2             Q    So after you got out of your -- the driver's
3       seat of your vehicle you went to this back seat to get
4       your canine out?
5             A    Yes.
6             Q    And is that the door that -- that's marked
7       "Keep away police dog"?
8             A    Yes.
9             Q    Okay.    And what did you do after you opened
10      that door to retrieve your dog?
11            A    I retrieved my dog.
12            Q    Did you put the leash on your dog?
13            A    No.
14            Q    Is there any reason why you didn't put the
15      leash on your dog?
16            A    It was a quickly evolving situation at the end
17      of the street and I did not want to waste time with
18      trying to clip my leash on my dog in total darkness, so
19      I just grabbed him by his collar.
20            Q    Were there any lights on your vehicle that
21      were on at the time?
22            A    Yes, I had overhead lights on.
23            Q    Did you also have your headlights on?
24            A    Yes.
25            Q    I'm looking at this image above your left


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1       decision.     I'm just trying to understand if there was
2       anything in particular that was in your head at the time
3       as to what the suspect may be doing?
4             MR. CHRISTIANSEN:       Well, it calls for speculation.
5       It's been asked and answered.
6             THE WITNESS:     Again, I was just getting my dog to
7       respond to whatever was going to happen next.
8       BY MR. SINCICH:
9             Q    Okay.    But, generally, at that point in time,
10      you didn't see the suspect stop the vehicle and get out,
11      did you?
12            A    No.
13            Q    You didn't see the suspect attempt to do a
14      foot bail?
15            A    No.
16            Q    Generally, at that point in time when you were
17      getting out of your vehicle, the suspect was still
18      driving; correct?
19            A    Yes.
20            Q    And he was no longer driving south; is that
21      correct?
22            A    Correct.
23            Q    Because it came to a dead end?
24            A    Yes.
25            Q    So did the thought go through your mind that


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1             Q    What did you hear?
2             A    It sounded like a fence getting hit, like
3       metal kind of getting crunched and then screeching
4       tires.
5             Q    Did you hear rubbing onto the fence at all?
6             MR. CHRISTIANSEN:       Objection, asked and answered.
7       Misstates prior testimony.
8             THE WITNESS:     It just sounded like metal crashing
9       against the vehicle.
10      BY MR. SINCICH:
11            Q    Okay.    Was it your impression that any
12      officer's vehicle was struck by the suspect vehicle at
13      that point?
14            A    I didn't know.
15            Q    Did you know whether or not all of the
16      officers had radio capability on their person?
17            A    They did.
18            Q    At the time that you were getting your canine
19      out of your vehicle, did you hear any radio
20      transmissions?
21            A    I can't recall.
22            Q    Did you use force during this incident?
23            A    Yes.
24            Q    What type of force did you use?
25            A    Lethal force.


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1             Q    Was that with your pistol?
2             A    Yes.
3             Q    And how many shots did you fire?
4             A    Seven.
5             Q    Do you know how long it was from the time that
6       your vehicle came to -- excuse me.
7                  Do you know how long it was from the time that
8       your vehicle came to a stop to the time that you fired
9       your first shot?
10            A    I'd say less than 20 seconds.
11            Q    Okay.    Is that more than 15 seconds or more
12      than 17 seconds?
13            A    It's less than 20 seconds.
14            Q    Okay.    Did you hear any other officer fire
15      prior to you firing?
16            A    Yes.
17            MR. CHRISTIANSEN:       I'm going to object that it
18      calls for speculation.
19      BY MR. SINCICH:
20            Q    How long prior to you firing did you hear
21      other gunshots?
22            A    Five to 10 seconds.
23            Q    Did you know who was firing those shots?
24            A    No.
25            Q    Do you know how many shots were fired?


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1             A    No.
2             Q    Do you know where those shots were coming
3       from?
4             A    No.
5             Q    Generally speaking, were they south of your
6       vehicle or north of your vehicle?
7             A    South of my vehicle.
8             Q    Okay.    When was the next time that you saw the
9       suspect vehicle after you retrieved your canine out of
10      your seat?
11            A    As soon as I was starting to make my way
12      southbound towards where I believe the pursuit had
13      terminated.
14            Q    Okay.    Did you leave the back door to your
15      vehicle opened as well?
16            A    I can't recall.
17            Q    When you say making your way around, are you
18      referring to going around the doors to your vehicle?
19            A    I was coming up from the driver's side door of
20      my open -- or open driver's side door of my vehicle.
21            Q    What was your intent at that time?
22            A    To go to where I thought the pursuit had
23      terminated.
24            Q    So if -- if nothing else happened, then your
25      plan was to go all the way to where the suspect vehicle


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1       was?
2              A   Or in an area where officers had migrated to,
3       yes.
4              Q   Okay.    So what was your position the next time
5       that you were able to see the suspect vehicle after you
6       got your canine?
7              A   By my driver's side door, open driver's side
8       door.
9              Q   Were you in front of that door or behind that
10      door?
11             A   I was to the side of the door.
12             Q   Okay.
13             MR. SINCICH:    Let's see if any of these images
14      might help us out.
15                 I'll mark this image as 36 and hand it to the
16      deponent.
17           (Exhibit 36 marked)
18      BY MR. SINCICH:
19             Q   Do you recognize what is depicted in
20      Exhibit 36?
21             A   Yes.
22             Q   Is your vehicle depicted in Exhibit 36?
23             A   Yes.
24             Q   Which one is that?
25             A   The Tahoe in the middle of the picture.


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1             Q    Is that the one with the door open?
2             A    Yes.
3             Q    That's the driver's door?
4             A    Yes.
5             Q    So you were standing on the outside of your
6       driver's door when you next saw the suspect vehicle?
7             A    Yes.
8             Q    So from the perspective of this image you
9       would have been just to the right of that door?
10            A    Yes.
11            Q    Okay.    And what was the suspect vehicle doing
12      at that time?
13            A    Driving directly at me.
14            Q    Did you fire at the suspect vehicle?
15            A    Eventually, yes.
16            Q    Did you fire at the suspect vehicle when he
17      was driving directly at you when you first saw him?
18            A    No.
19            Q    Did you give any commands to the suspect as
20      you described when he was driving directly at you?
21            A    No.
22            Q    Did you give him any warning that if he drove
23      directly at you that you would use lethal force?
24            A    No.
25            Q    Is there a reason why you didn't give him any


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1       commands?
2             MR. CHRISTIANSEN:       Objection, it calls for
3       speculation.     Incomplete hypothetical.
4             THE WITNESS:     I didn't believe it was reasonable at
5       the time to do that, nor did I think any of my commands
6       would have an effect based on the situation.
7       BY MR. SINCICH:
8             Q    And why is that?
9             A    The noise, the loudness.        I didn't know if his
10      windows were open or closed, so I made a choice not to
11      make any commands.
12      BY MR. SINCICH:
13            Q    What was the noise?
14            A    A revving engine.      The sound of a -- a motor.
15            Q    Is there any reason why you chose not to give
16      a warning at that time?
17            MR. CHRISTIANSEN:       Objection, asked and answered.
18            THE WITNESS:     No.
19      BY MR. SINCICH:
20            Q    Do you know about where the suspect vehicle
21      was when you first saw it driving in your direction?
22            A    Can you re-question that?
23            Q    Of course.
24                 So when you first saw the suspect vehicle
25      driving in your direction right after you got your


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1       canine, where was the suspect vehicle in relation to
2       other officers' vehicles?
3             A    Directly in the path of my vehicle.
4             Q    Okay.    Do you know where it was in relation to
5       Officer Zeltner's vehicle or Officer Bradley's vehicle?
6             A    It would have been to the east of their
7       vehicles on the roadway.
8             Q    Do you know if when you first saw the vehicle
9       was it east of Officer Zeltner's vehicle, east of
10      Officer Bradley's vehicle or in between there?
11            A    Can you clarify when I first saw it?           Do you
12      mean when I turned onto Mesa?
13            Q    No, when you first saw them after getting the
14      canine.
15            A    He was to the east of Officer Zeltner's
16      vehicle and Officer Bradley's vehicle.
17            Q    Had he already passed Officer Zeltner's
18      vehicle?
19            A    Yes.
20            Q    Do you know if he was driving on the road, on
21      the paved portion of the road only at that time?
22            A    It appeared to be on the roadway coming
23      towards my vehicle.
24            Q    Do you know how fast he was going at that
25      time?


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1             A    It appeared to be a high rate of speed towards
2       me.
3             Q    What do you consider a high rate of speed?
4             A    For the conditions.       I can't put a mile per
5       hour on it.      It just appeared to be coming quickly in my
6       direction.
7             Q    Okay.    Did you hear the engine revving the
8       entire time?
9             A    It was a high pitched -- I'm not a car
10      enthusiast, but it appeared he was accelerating very
11      fast towards me.
12            Q    Okay.    At that point in time did you think he
13      was going to continue driving in your direction?
14            A    Yes.
15            Q    At that point in time did you use lethal
16      force?
17            A    No.
18            Q    Why is that?
19            A    I just -- I didn't think it was necessary at
20      that time.
21            Q    At the time that you described where you first
22      saw the suspect vehicle driving in your direction, had
23      you already heard the other gunshots?
24            A    Yes.
25            Q    At that time did you think it was a


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1       possibility that the suspect was firing those rounds?
2             A    It could have been.       I didn't know.
3             Q    Did you hear any officers give commands
4       prior --
5             A    I heard yelling, but I didn't know what the
6       exact words were that were being yelled.
7             Q    When did you hear yelling?
8             A    As I was initially getting out of the driver's
9       seat of my vehicle.
10            Q    Could you tell who was yelling?
11            A    No.
12            Q    Could you tell if there was multiple officers
13      yelling?
14            A    No.
15            Q    Could you tell if there was yelling prior to
16      those gunshots that you heard?
17            A    Yes.
18            Q    Did you hear any yelling after those gunshots,
19      but prior to your gunshots?
20            A    I can't remember.
21            Q    Was it your impression that only -- strike
22      that.
23                 Did you hear just one volley of gunshots prior
24      to you shooting?
25            A    No.


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1       BY MR. SINCICH:
2              Q   Okay.    When you were to the right of your
3       driver's door and you saw the suspect vehicle driving in
4       your direction, did you have your weapon drawn at the
5       time?
6              A   No.
7              Q   Is there a reason why you didn't have your
8       weapon drawn?
9              A   Because I was focused on handling my dog.
10             Q   How long were you in that position to the
11      outside of your driver's door?
12             A   Not long.
13             Q   What do you consider not long?
14             A   Two to three seconds.
15             Q   What did you do after that two-to-three-second
16      time frame?
17             A   I tried to get out of the way.
18             Q   Tried to get out of the way of what?
19             A   The vehicle coming at me and my car.
20             Q   And what did you do to try to get out of the
21      way?
22             A   I tried to move side pass to the left.
23             Q   I'm sorry, I don't understand what you mean.
24      Can you rephrase that?
25             A   So the vehicle is coming at me and I tried to


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1       move to the left to get out of the way of the vehicle
2       coming at me.
3             Q    To your left?
4             A    Yes.
5             Q    Okay.
6             A    To the right in the picture.
7             Q    The picture of Exhibit 36?
8             A    Yes.
9             Q    There was a phrase you used, I did not -- I'm
10      not familiar with, "side pass" or something of that
11      nature.
12            A    Oh, I just moved to the left.
13            Q    Okay.    Was there anything stopping you from
14      moving to the left?
15            A    There was a berm.
16            Q    Is that berm also depicted in Exhibit 36?
17            A    Yes.
18            Q    And there's a fence on that berm?
19            A    Yes.
20            Q    How much space would you say that there is
21      between your vehicle and the fence?
22            MR. CHRISTIANSEN:       Are you talking about in
23      Exhibit 36?
24            MR. SINCICH:     No, in the incident.
25            MR. CHRISTIANSEN:       So you're asking him how much


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1       space was between his vehicle and the fence?
2             MR. SINCICH:     That was my question, yes.
3             MR. CHRISTIANSEN:       Okay.   Vague as to time.
4             THE WITNESS:     It did not seem like a lot.
5       BY MR. SINCICH:
6             Q    What does that mean to you in terms of it
7       didn't seem like a lot?
8             A    I didn't really have anywhere to go.
9             Q    Okay.    Did you mention that the suspect
10      vehicle collided with your vehicle?
11            A    Not yet.
12            Q    Okay.    Did it eventually collide with your
13      vehicle?
14            A    Yes.
15            Q    Did the suspect vehicle ever hit you?
16            A    No.
17            Q    Were you ever harmed at all during the
18      incident?
19            A    I initially fell when I was trying to get out
20      of the way, but I was not injured.
21            Q    When you fell was that prior to the suspect
22      vehicle hitting your vehicle?
23            A    Yes.
24            Q    Is there any reason why you fell?
25            A    I lost my footing on the dirt berm trying to


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1       get out of the way.
2             Q    And at that time you were still trying to
3       control your canine?
4             A    I lost control of him at that time.
5             Q    Did you lose control of him prior to you
6       falling or because of the fall?
7             A    Because of the fall.
8             Q    Is it fair to say, then, that the suspect
9       vehicle wasn't driving in your direction?
10            A    He was driving in my direction.
11            Q    But the suspect vehicle didn't hit you, did
12      he?
13            A    No.
14            Q    When you say that the suspect vehicle was
15      driving in your direction, are you referring to it
16      driving in the direction of your vehicle?
17            A    Where I was near my door, yes.
18            Q    Did you see the suspect vehicle impact your
19      vehicle?
20            A    Yes.
21            Q    And how far were you from your vehicle at that
22      time?
23            A    I was within arm's reach of my open driver's
24      side door.
25            Q    Okay.    Because you had just moved to the left?


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1             A    Yes.
2             Q    Did you regain your footing?
3             A    Yes.
4             Q    Did you move further to the left?
5             A    No.
6             Q    After you regained your footing did you
7       re-enter your vehicle?
8             A    No.
9             Q    Did you move to the rear of your vehicle?
10            A    No.
11            Q    What did you do after regaining your footing?
12            A    I was up near the front hood of my car because
13      the impact of the suspect vehicle crash with my car
14      pushed it backwards, therefore it exposed my position
15      where I was trying to get away from.
16            Q    Do you have any estimate as to how far it
17      pushed your vehicle back?
18            A    I'd probably say anywhere between 5 to 8 feet.
19            Q    When you stopped your vehicle who was the
20      closest vehicle in front of you?
21            A    Officer Bradley's.
22            Q    And when you stopped your vehicle how far was
23      it from Officer Bradley's vehicle?
24            MR. CHRISTIANSEN:       Objection, vague.
25            THE WITNESS:     A couple of car lengths.


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1             Q    I believe you did.
2             A    I apologize for that.
3                  We weren't trained to use them at the Murrieta
4       Police Department.
5             Q    Were you ever told that there's a reason why
6       there was no training in roadblocks?
7             A    They just try to refrain you from putting
8       yourself in a harmful position.
9             Q    Is a roadblock then a -- a dangerous position
10      for the officer trying to do the roadblock?
11            MR. CHRISTIANSEN:       I'm going to object.       That's an
12      incomplete hypothetical.        It calls for speculation.        It
13      lacks relevance.
14                 He already said they weren't trained to do it.
15            THE WITNESS:     It could be.
16      BY MR. SINCICH:
17            Q    When you were stopping your vehicle did you
18      intend to create a roadblock in any way?
19            A    No.
20            Q    Did you intentionally stop your vehicle in a
21      position so as to prevent a roadblock?
22            A    No.
23            Q    Had you had any training in terms of
24      positioning your vehicle in a manner to prevent a
25      roadblock?


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1             MR. CHRISTIANSEN:       I'll object.     This has been
2       asked and answered.       This is now getting harassing.
3             THE WITNESS:     No.
4       BY MR. SINCICH:
5             Q    Is it consistent with your training that if --
6       in a vehicle pursuit if a suspect wants to continue to
7       flee that you should give them space to continue to
8       flee?
9             A    Yes.
10            Q    Did you feel that based off of where you
11      positioned your vehicle that you were giving space for
12      the suspect to continue to flee if he chose to do so?
13            A    Yes.
14            Q    And where was that space that you believe you
15      were giving the suspect vehicle?
16            A    I pulled to the left side of the roadway.            I'm
17      almost on the gravel, as you can see in the picture.
18      And there is room to the right side of my vehicle.
19            Q    And that's -- the picture that you're
20      referring to is Exhibit 36?
21            A    Yes.
22            Q    When you say right side of your vehicle,
23      that's from the perspective of you sitting in the
24      vehicle?
25            A    Yes.


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1             Q    Okay.    At the moment of impact between the
2       suspect vehicle and your vehicle did you know where any
3       other officer was?
4             A    No.
5             Q    Did you have an idea, generally, as to where
6       the officers were?
7             A    The south of me.
8             Q    You knew that Officer Zeltner and
9       Officer Bradley were still to the south?
10            A    At that time, yes.
11            Q    And you knew that Officer Bradley (sic) and
12      Sgt. Montez were approaching from the north; is that
13      right?
14            A    Officer Williams and Sgt. Montez.
15            Q    Right.    They were somewhere north of you?
16            A    Yes.
17            Q    But you weren't able to see them?
18            A    No.
19            Q    Do you know if they ever alerted you to their
20      position at all?
21            A    Yeah, Officer Williams eventually came along
22      the driver's side of my door behind me.
23            Q    Did Sgt. Montez ever alert any other officers
24      as to where he was?
25            A    I don't recall.


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1             Q    After turning onto Mesa Drive did you hear any
2       other radio transmissions prior to you -- to you using
3       deadly force?
4             A    I don't recall.
5             Q    How long after the impact between the suspect
6       vehicle and your vehicle did you fire your first shot?
7             A    It was almost simultaneous.
8             Q    Where was your position then when you fired
9       that first vehicle (sic) in relation to your vehicle?
10            A    The impact exposed me to the -- I would say I
11      was just in front of the hood of my vehicle in between
12      the hood of the suspect vehicle on the passenger side of
13      the suspect vehicle.
14            MR. SINCICH:     I'm going to mark this as Exhibit 37.
15                 I'm going to hand 37 to the deponent.
16           (Exhibit 37 marked)
17      BY MR. SINCICH:
18            Q    Do you recognize what's depicted in
19      Exhibit 37?
20            A    Yes.
21            Q    Do you see your vehicle in this image?
22            A    Yes.
23            Q    And where is your image in -- or your vehicle
24      in that image?
25            A    The lower right-hand corner.         It's the front


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1       bumper.
2              Q   And is that your tire on the right-hand side
3       of that image?
4              A   Yes.
5              Q   The way that you described where you were when
6       you first fired your -- your first round, were you
7       forward of this position?
8              A   Just slightly forward.        Off the hood of my
9       car.
10             Q   How far away were you from the hood of your
11      vehicle?
12             A   Within arm's reach.
13             Q   Okay.    And the suspect vehicle, you said you
14      were near the passenger door of the suspect vehicle?
15             A   At what point?
16             Q   At the time you fired your first shot.
17             A   I was almost right up on the passenger side
18      window of the vehicle.
19             Q   Okay.    How far were you from the passenger
20      side window of the suspect vehicle?
21             A   About just outside of arm's reach.
22             Q   Did you give any commands at that time?
23             A   I don't recall.
24             Q   Do you recall giving any commands during the
25      incident?


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1             A    Yes.
2             Q    Were any of those commands prior to using
3       force?
4             A    Yes.
5             Q    And were any of those commands prior to using
6       deadly force?
7             A    No.
8             Q    The commands you're referring to, are those
9       that were given prior to using the canine as force?
10            A    Yes.
11            Q    Okay.    At the time that you fired your first
12      shot was the suspect vehicle still moving?
13            A    Yes.
14            Q    And which direction was it moving in?
15            A    Northbound.
16            Q    Is it fair to say that the suspect vehicle was
17      no longer moving in your direction?
18            A    I didn't know which direction it was going to
19      go, but it was still moving northbound towards my
20      vehicle, but I didn't know where it was going to go from
21      there.
22            Q    Were you able to see the suspect driver when
23      you fired your first round?
24            A    Yes.
25            Q    Where were you able to see him from?


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1              A   Through the -- partially through the front
2       windshield and open passenger side window.
3              Q   Do you know if the passenger side window was
4       rolled down or was the glass just shattered?
5              A   I did not know.
6              Q   Were you able to identify the suspect at that
7       time?
8              A   I was able to see him.        I didn't know who he
9       was.
10             Q   Prior to you using force did you know anything
11      about the suspect driver?
12             A   No.
13             Q   At the time that you used deadly force did you
14      know that there was any other occupants in the vehicle?
15             A   No.
16             Q   Did you come to find out that there was some
17      other occupant in the vehicle later on?
18             A   Yes.
19             Q   And where was that person in the vehicle?
20             A   He was in the bench seat directly behind the
21      driver on the driver's side.
22             Q   Were you trained that when shooting into a
23      moving vehicle you should consider if there are other
24      occupants in the vehicle?
25             MR. CHRISTIANSEN:      Objection, incomplete


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1       hypothetical.      It calls for speculation.
2             THE WITNESS:     We're not trained to shoot at moving
3       vehicles.
4       BY MR. SINCICH:
5             Q    When you were shooting into the moving vehicle
6       at the driver of the moving vehicle, were you trained to
7       consider if there were other people, passengers in the
8       vehicle?
9             A    Yes.
10            Q    And what is the training with that regard?
11            A    Just to be aware of other passengers inside
12      the vehicle that could be subject to injury if you do
13      shoot at a moving vehicle.
14            Q    Were you trained, then, to check the vehicle
15      to see if there's any other passengers?
16            MR. CHRISTIANSEN:       Objection, incomplete
17      hypothetical.      It calls for speculation.
18                 It's certainly not what happened here,
19      Counsel.
20            THE WITNESS:     Can you restate your question,
21      please?
22      BY MR. SINCICH:
23            Q    Yes.    So prior to using force, did you have an
24      unobstructed view of the driver?
25            A    Yes.


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1             Q    Could you see inside the cab of the vehicle
2       clearly?
3             A    The front passenger and driver's seat, yes.
4             Q    Okay.    And were your headlights shining in the
5       direction of the suspect vehicle?
6             A    Yes.
7             Q    Do your overhead lights also illuminate the
8       surrounding area?
9             A    They would illuminate with red, blue and white
10      light sporadically, but not a constant forward beam of
11      light.
12            Q    But, generally, when it -- when it -- when
13      they're on they illuminate the general area?
14            A    Yes.
15            Q    Okay.    Did you check the back seat at all
16      prior to using force?
17            A    No.
18            Q    Do you know what was in your backdrop when you
19      first fired your shot at the suspect driver?
20            A    Yes.
21            Q    What was in your backdrop?
22            A    Just the suspect in the driver's side seat.
23      There was nothing else behind him.
24            Q    Eventually there's something else beyond the
25      vehicle?


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1              A   Yes.
2              Q   What was beyond him in the path of your fire?
3              A   Homes.
4              Q   Did you take that into consideration prior to
5       using deadly force?
6              A   Yes.
7              Q   You said that you saw the impact of the
8       suspect vehicle onto your vehicle.
9                  Do you know what area of your vehicle was
10      impacted by the suspect vehicle?
11             A   The front hood.      The push bumper bar of my
12      car.
13             Q   Do you know if it was in the center of that
14      push bumper, off to the right or to the left of it?
15             A   It was the front of my car.
16             MR. SINCICH:    I'll mark this as Exhibit 38.
17           (Exhibit 38 marked)
18      BY MR. SINCICH:
19             Q   Do you recognize what is depicted in the image
20      for Exhibit 38?
21             A   Yes.
22             Q   Is that your vehicle?
23             A   Yes.
24             Q   Do you see damage to your vehicle?
25             A   Yes.


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1             Q    Which portion of the front side of your
2       vehicle do you see damage?
3             MR. CHRISTIANSEN:       Objection, the exhibit speaks
4       for itself.
5             THE WITNESS:     It starts in the center and then it
6       goes towards the -- if -- if you're looking at the
7       picture, the front left of the vehicle.             If you're in
8       the car, it would be the front passenger side hood area
9       of the vehicle.
10            MR. SINCICH:     I'm going to mark this as Exhibit 39.
11           (Exhibit 39 marked)
12      BY MR. SINCICH:
13            Q    Do you recognize what is depicted in
14      Exhibit 39?
15            A    Yes.
16            Q    Is that your vehicle?
17            A    Yes.
18            Q    I'm curious as to what this square image is,
19      the square object that's to the left of the license
20      plate.
21            A    Siren.
22            Q    Okay.    Do you have any cameras on your
23      vehicle?
24            A    No.
25            Q    Did you have any cameras on your person?


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1       shift-by-shift basis?
2             A    No.    Upon employment.
3             Q    So when you first got hired with the Murrieta
4       Police Department you were issued a recording device?
5             A    Yes.
6             Q    But you didn't have your recording device on
7       you at the time of the incident?
8             A    No.
9             Q    Is there a reason why?
10            A    I wasn't required to.
11            Q    What was the Murrieta Police Department policy
12      at the time with regard to using your recording device?
13            MR. CHRISTIANSEN:       Objection, outside the scope.
14            THE WITNESS:     I don't know the specific policy.
15      BY MR. SINCICH:
16            Q    Was it your understanding that it was an
17      option to use your recording device?
18            A    Yes.
19            Q    Had you ever used it prior to the incident?
20            A    Yes.
21            Q    Generally, looking at Exhibit 39, is it fair
22      to say that the damage to your vehicle is on the
23      passenger side of your vehicle?
24            A    Yes.
25            MR. SINCICH:     I'll mark this as 40.


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1                  I'm placing Exhibit 40 in front of the
2       deponent.
3            (Exhibit 40 marked)
4       BY MR. SINCICH:
5             Q    Officer, do you recognize what is depicted in
6       Exhibit 40?
7             A    Yes.
8             Q    Is this the suspect vehicle?
9             A    Yes.
10            Q    Is it fair to say that the damage to the
11      suspect vehicle was also on the front passenger side?
12            MR. CHRISTIANSEN:       Objection, the document speaks
13      for itself.
14            THE WITNESS:     Yes.
15      BY MR. SINCICH:
16            Q    When you saw the suspect vehicle impact your
17      vehicle, is it fair to say that you saw the suspect
18      vehicle's passenger side of its front bumper impact the
19      passenger side of your front bumper?
20            MR. CHRISTIANSEN:       Objection, misstates prior
21      testimony.
22            THE WITNESS:     No.
23      BY MR. SINCICH:
24            Q    What's incorrect about that?
25            A    It appeared as though he was coming directly


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1       at the front of my vehicle.
2             Q    You said you fired seven rounds in total?
3             A    Yes.
4             Q    Were those in rapid succession?
5             A    Yes.
6             Q    About how long did it take you to fire all
7       seven rounds?
8             A    I don't know.
9             Q    You didn't take any pause in between rounds?
10            A    No.
11            Q    Did you intentionally fire each shot?
12            A    Yes.
13            Q    Were you aiming when you were firing?
14            A    Yes.
15            Q    Were you aiming through the site of your
16      weapon?
17            A    No.
18            Q    How were you aiming?
19            A    I was pointing in the direction of where the
20      suspect was.
21            Q    What part of the suspect were you aiming at?
22            A    The body.
23            Q    How much of the suspect's body could you see
24      at the time?
25            A    Everything above the waist.


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1             Q    Could you see his hands?
2             A    I could see one of them.
3             Q    Which hand could you see?
4             A    I don't remember.
5             Q    Where was that hand when you saw it?
6             A    On the steering wheel.
7             Q    Did you see that hand prior to you firing?
8             A    Yes.
9             Q    Do you know, generally, where on the steering
10      wheel that hand was?
11            A    Above his -- above the waistline of where the
12      steering wheel would be.        It wasn't at the bottom of the
13      steering wheel, it would be somewhere above the top.
14            Q    Like the 10:00 and 2:00 area?
15            A    Above that.
16            Q    Were you able to see the suspect's face then
17      as well?
18            A    Yes.
19            Q    Do you know which direction he was looking at
20      the time?
21            A    Straight ahead.
22            Q    You would have been off to his right?
23            A    Not directly to his right.
24            Q    You weren't straight ahead of him, though,
25      were you?


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1              A   No.
2              Q   When you were firing did you hear any other
3       shots being fired?
4              A   Yes.
5              Q   Were you able to tell who was firing those
6       shots?
7              A   Yes.
8              Q   And who was that?
9              A   Officer Williams.
10             Q   Did Officer Williams begin to fire after your
11      shots were being fired?
12             A   It was almost simultaneous from my
13      perspective.
14             Q   And you fired simultaneous with the impact of
15      the vehicle on your vehicle?
16             A   Yes.    So -- yes, and just after the collision.
17             Q   Okay.    Did you have any idea as to where
18      Sgt. Montez was at the time?
19             A   No.
20             Q   You mentioned earlier that -- might have to
21      take a break in a minute.        I'm losing my voice a little
22      bit.
23                 You mentioned earlier that you looked at some
24      images that were attached to your statement transcript;
25      right?


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1             A    Yes.
2             Q    Were one of those images a drawing that you
3       made of the locations of the vehicles?
4             A    Yes.
5             Q    Do you recall how you drove -- how you drew
6       the suspect vehicle in relation to your vehicle?
7             A    I don't recall.
8             Q    You looked at the image within the last week;
9       right?
10            A    Yes.
11            Q    Do you recall that in that image whether or
12      not you drew your position at the time you were firing?
13            A    I'd have to see the image to refresh my
14      memory.
15            MR. SINCICH:     Do you have it?
16            MR. SEHAT:     (Indicating).
17            MR. SINCICH:     I'm going to hand the --
18      Officer Mikowski what's been Bates-stamped as 000177 to
19      refresh his recollection.
20            THE WITNESS:     Okay.
21      BY MR. SINCICH:
22            Q    Does that refresh your recollection, Officer?
23            A    Yes.
24            Q    Okay.    In that drawing do you depict where you
25      were standing at the time you were firing?


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1             A    Yes.
2             Q    In that drawing do you also depict where
3       Officer Williams was when you understood that he was
4       firing?
5             A    Yes.
6             Q    And are those two the dots that are above the
7       shape with an "M" in it?
8             A    Yes.
9             Q    And that shape with an "M" symbolizes your
10      vehicle as Mikowski?
11            A    Yes.
12            Q    Is the suspect vehicle the shape that's
13      pointing in the direction of your vehicle with an "S" in
14      the middle of it?
15            A    Yes.
16            Q    And is it generally in the direction left of
17      of your vehicle and not head-on with it as you draw it
18      in that image?
19            MR. CHRISTIANSEN:       Objection, the document speaks
20      for itself.
21            THE WITNESS:     It's not a to-scale drawing, but to
22      my depiction, even though the suspect vehicle is angled,
23      it appeared he was coming at me head-on.
24      BY MR. SINCICH:
25            Q    When you say "coming at me head-on," you don't


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1       mean your person, your body?
2              A   My vehicle.
3              MR. SINCICH:    Okay.    I'm just going to retrieve
4       what -- the Bates-stamped 000177.          We're not going to
5       mark that as an exhibit.
6       BY MR. SINCICH:
7              Q   Do you know how many rounds, approximately,
8       Officer Williams fired?
9              A   No.
10             Q   When Officer Williams fired where was he in
11      relation to you?
12             A   Just off my right shoulder.
13             Q   Could you see Officer Williams at all?
14             A   I could see his pistol out of my peripheral.
15             Q   Okay.    So was Officer Williams somewhat behind
16      you?
17             A   You could say that, yes.
18             Q   Did you hear Officer Williams give any
19      commands prior to him firing?
20             A   I don't recall.
21             Q   While you were firing the vehicle -- strike
22      that.
23                 While you were firing at the driver of the
24      vehicle, what was the vehicle doing?
25             A   Revving and still trying to go forward in a


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1       northbound direction.
2             Q    Could you tell what the driver was doing at
3       the time you were firing?
4             A    He was looking straight ahead.
5             Q    Did you get the impression that any of your
6       shots were impacting the driver?
7             A    I don't -- not at the time.         I don't recall.
8             Q    You don't recall him flinching or moving or
9       ducking or anything like that?
10            A    Not that I can recall, no.
11            Q    Can you describe the suspect driver when you
12      saw him in the vehicle prior to you shooting?
13            MR. CHRISTIANSEN:       Objection, asked and answered
14      many times.
15            THE WITNESS:     He was a like medium-skin-toned male
16      with short hair.
17      BY MR. SINCICH:
18            Q    Do you recall what type of clothing he was
19      wearing?
20            A    I can't recall right now.
21            Q    When you were firing and Officer Williams was
22      firing, did you hear any other gunshots?
23            A    No.
24            Q    Were there any other gunshots prior to you
25      firing besides the two volleys that you described


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1       previously?
2             A    I don't know.
3             Q    Were there any gunshots after you fired that
4       you were able to hear?
5             A    I don't know if Officer Williams and I stopped
6       at the same time or if I stopped first.             I don't know.
7             Q    So besides your shots and Officer Williams'
8       shots, after that firing ceased did you hear any other
9       firing?
10            A    No.
11            Q    Did the suspect vehicle ever stop after you
12      fired?
13            A    Yes.
14            Q    How long after you stopped firing did the
15      suspect vehicle stop?
16            A    Almost right away.
17            Q    Did the vehicle stop first and then you
18      stopped firing or did you stop firing and then the
19      vehicle stopped?
20            MR. CHRISTIANSEN:       Objection, asked and answered.
21            THE WITNESS:     It was almost right away that the
22      vehicle stopped after the shots were fired.
23      BY MR. SINCICH:
24            Q    Okay.    When you say the vehicle stopped, do
25      you mean that you just couldn't hear the engine revving


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1       anymore?
2             A    No, the engine was still on.         He just was not
3       pushing my vehicle forward anymore.
4             Q    Did you ever see any hand movements of the
5       suspect in the vehicle while you were shooting?
6             A    Not that I can remember.
7             Q    Did you see any hand movements of the suspect
8       driver immediately after you fired?
9             A    Not that I can remember.
10            Q    What happened after you stopped firing?
11            A    The vehicle started to go backwards.
12            Q    Do you know if Mesa Drive in a southward
13      direction is a downhill?
14            A    I don't recall.
15            Q    If you can look at Exhibit 36 for me, please,
16      Officer.
17            A    Okay.
18            Q    How far were you from the fence when you fired
19      your rounds?
20            A    I didn't know there was a fence there at the
21      time.
22            Q    Okay.    It was your impression that this
23      embankment continued up without any obstacle?
24            A    Yes.
25            Q    Depicted in Exhibit 36 where we can see the


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1       circumstances there with terrain, weeds, loose dirt,
2       gravel.    I don't know.
3       BY MR. SINCICH:
4             Q    Prior to the impact of the suspect vehicle
5       onto your vehicle is that when you were standing just to
6       the outside of your open driver's door?
7             A    Yes.
8             Q    From that position how long would it take for
9       you to get back into your vehicle?
10            MR. CHRISTIANSEN:       Objection, incomplete
11      hypothetical.      It calls for speculation.
12            THE WITNESS:     With the dog?
13      BY MR. SINCICH:
14            Q    Without the dog.
15            MR. CHRISTIANSEN:       Objection, it's an incomplete
16      hypothetical.      It calls for speculation.
17                 I don't want you to guess at this and neither
18      does he.
19            THE WITNESS:     I don't know.
20      BY MR. SINCICH:
21            Q    It appears as though you were about to say
22      "two"?
23            A    Two to three seconds.
24            Q    Did you see the suspect vehicle turning in any
25      direction when you first saw it coming in your direction


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1             Q    Okay.    Otherwise, I was going to ask you did
2       it start rolling backwards?
3                  Do you know how fast it was rolling backwards?
4             A    Slowly.
5             Q    It wasn't, from your perspective, as though it
6       was being driven backwards, was it?
7             A    No.
8             Q    Were you able to see the suspect vehicle while
9       it was rolling backwards?
10            A    Yes.
11            Q    Can you describe what you saw?
12            A    One hand on the wheel and it appeared that he
13      still had control of the car.
14            Q    What gave you the impression that he still had
15      control of the car?
16            A    His hand was on the wheel and he was still
17      sitting in the driver's seat and the motor was still on.
18            Q    I believe you used your left hand in
19      demonstrating his hand was on the vehicle (sic).
20                 Was it the suspect's left hand that was on the
21      wheel of his vehicle?
22            A    I don't know.      That was just a human reaction
23      on my part.
24            Q    Okay.    Did you see that he was slumped over in
25      any way?


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1              A   Not at the time, no.
2              Q   Was it your impression that he was still
3       alive?
4              A   Yes.
5              Q   Did you see any blood coming from the suspect
6       as the vehicle was rolling backwards?
7              A   No.
8              Q   Did the vehicle roll backwards, generally, in
9       the same path that it took forwards?
10             A   Yes.
11             Q   What did you do as the vehicle was rolling
12      backwards?
13             A   I walked to the -- as distance was created in
14      between my car and his car, my priority was to find my
15      dog.
16             Q   Where was your dog?
17             A   I don't know.
18             Q   What did you do to try to find your dog?
19             A   I was calling him -- his name and giving him a
20      "here" command.
21             Q   Where did you go?
22             A   South.
23             Q   Did you go south of the suspect vehicle?
24             A   No.
25             Q   Were you, generally, still in front of the


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1       suspect vehicle?
2             A    Yes.
3             Q    Were you still on the dirt at the time that
4       you were giving the commands to your dog to come?
5             A    No, I made my way onto the roadway.
6             Q    Did you eventually get a hold of your dog?
7             A    Yes.
8             Q    Did you have any impression as to what your
9       dog was doing since you lost control of him?
10            A    No.
11            Q    Do you recall in your statement saying that
12      your dog was jumping on other officers?
13            A    Yes.
14            Q    Where were you in relation to other officers'
15      vehicles when you got control of your dog?
16            A    I made my way past Officer Bradley's on the
17      passenger side and I don't recall if I passed
18      Officer Zeltner's or not, but I was on the west side of
19      the roadway when I gained control of him.
20            Q    So you were in between Zeltner's and Bradley's
21      vehicle and the residences?
22            A    Yes.
23            Q    Okay.    At the time that you gained control of
24      Pak did you know if the suspect vehicle was still
25      rolling backwards?


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1             A    Yes.
2             Q    It hadn't reached the dead end -- the end of
3       the dead end then at that point?
4             A    No.
5             Q    What did you do after you gained control of
6       your dog?
7             A    I asked if all of the other officers on scene
8       were okay and then we started to do a high risk felony
9       stop on the car.
10            Q    What does a high risk felony stop entail?
11            A    Giving loud verbal commands to the occupant or
12      occupants of the car, telling them to keep their hands
13      up, don't move until directed otherwise.
14            Q    Did you give those commands?
15            A    Not at first.
16            Q    Did you hear other officers giving those
17      commands?
18            A    Yes.
19            Q    How many other officers did you hear giving
20      those commands?
21            A    I don't know.
22            Q    Do you know who was in charge of giving
23      commands?
24            A    I ultimately took charge of it due to me
25      having my dog, so my dog would not key on anybody else


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1       yelling.
2             Q    Right.    When you were giving those commands
3       was the suspect vehicle -- did it come to a rest?
4             A    It did, yes.
5             MR. SINCICH:     All right.     How about we go on a
6       ten-minute break now?
7                  Let's go off the record.
8            (Recess)
9             MR. SINCICH:     Back on the record.
10      BY MR. SINCICH:
11            Q    Prior to using force did you ever hear any
12      officer announce that they were Murrieta Police
13      Department officers?
14            A    I don't recall.
15            Q    Do you know if Murrieta Police Department
16      has -- or had at the time of the incident, air support
17      for vehicle pursuits?
18            A    I do not think they were available at that
19      time.
20            Q    Is that just for that incident at the time or
21      was it ...
22            A    It was just an availability issue.
23            Q    Okay.    So as the vehicle (sic) comes to an
24      end, you had mentioned that you were giving some
25      commands to the suspect driver.


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1             A    Yes.
2             Q    At that point in time, did you know there was
3       a passenger in the vehicle?
4             A    No.
5             Q    What did you do after giving commands to the
6       driver?
7             A    I sent my dog up into the driver's side window
8       of the car, the van.
9             Q    Was the driver's side window open?
10            A    Yes.
11            Q    Did you know if the window was rolled down or
12      if the window was shattered?
13            A    I did not know.
14            Q    How did you get your dog into -- into the
15      window?
16            A    I've done previous training with my dog so he
17      knows to jump up into an open window of a car to
18      apprehend a suspect.
19            Q    So your dog jumped in unassisted into the
20      window?
21            A    At first.
22            Q    What do you mean by "At first"?
23            A    He was not able to fully get his whole body in
24      on his own, so I went up and assisted him.
25            Q    How did you do that?


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1             A    I walked up to the vehicle and picked his hind
2       end up and pushed it up into the car and backed off.
3             Q    Prior to your canine deployment were you able
4       to see the suspect?
5             A    Yes.
6             Q    Can you describe what you saw?
7             A    Just his head and shoulder area.
8             Q    Was it your impression that he was still alive
9       at the time?
10            A    Yes.
11            Q    Did you see his hands at all?
12            A    No.
13            Q    Were his eyes open?
14            A    I could not tell.
15            Q    What gave you the impression that he was still
16      alive?
17            A    He was still sitting upright in the driver's
18      seat.
19            Q    Why did you make the decision to deploy your
20      canine on him?
21            A    He was -- he was not listening to commands.
22      We were specifically telling him to "Show us your hands.
23      Turn your car off.       Show us your hands."       No response
24      from him.
25                 So at that point the canine was another tool


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1       to go in and generate more control of the suspect so we
2       didn't have to physically approach the vehicle if he was
3       armed.
4              Q   Okay.    Did it cross your mind that maybe he
5       was impacted by gunshots by that point?
6              A   It was a possibility, but there was no for
7       sure telling at that time.
8              Q   What did you see your dog do after it got into
9       the vehicle?
10             A   He bit the subject on the right arm and
11      maintained control of that arm.
12             Q   He maintains -- the canine maintains control
13      of the arm by securing a bite on the suspect driver?
14             A   Yes.
15             Q   Did the canine harm the driver in any other
16      way?
17             MR. CHRISTIANSEN:      Objection, misstates his prior
18      testimony.     Assumes facts not in evidence.         It calls for
19      speculation.
20             THE WITNESS:    No.
21      BY MR. SINCICH:
22             Q   At that time was he leaned over at all prior
23      to the deployment of the canine?
24             A   He was -- prior to the deployment?
25             Q   Yes.


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1              A   No, he was sitting upright in the driver's
2       seat.
3              Q   Okay.    What did you do after the canine
4       deployment?
5              A   Myself and Sgt. Montez walked around the front
6       of the vehicle.      Sgt. Montez maintained lethal cover
7       because I was solely dedicated to gaining control of my
8       dog.
9              Q   Okay.    How long prior -- strike that.
10                 Did you gain control of your dog?
11             A   Yes.
12             Q   How long after the deployment did you gain
13      control of your dog?
14             A   Oh, not guessing, but not more than
15      20 seconds.
16             Q   Okay.    So in that 20-second time frame you and
17      Sgt. Montez went around to the passenger side of the
18      vehicle?
19             A   Yes.
20             Q   And what did you do?
21             A   Opened the passenger side door and went in and
22      gained control of my dog.
23             Q   How did you gain control?
24             A   I crawled into the passenger side seat area
25      and I physically took him off the bite.


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1             Q    Did your canine respond immediately to you
2       when you were physically taking him off the bite?
3             A    It's not immediate reaction.         Once I get
4       control of his collar I strong out my dog.
5             Q    What does that mean?
6             A    Basically, I'm physically taking him off the
7       bite.
8             Q    So you had to use force to pull the dog off of
9       the bite.     He just doesn't release?
10            A    Yes, I use force to take him off the bite.
11            Q    Is there any command that you could give for
12      the dog to release the bite?
13            A    There is a command, yes.
14            Q    Did you give that command?
15            A    Yes, while I'm physically taking him off the
16      bite.
17            Q    But the dog wasn't complying with that
18      command?
19            A    The dog complied and came off the bite.
20            Q    What happened at that point?
21            A    That's when I looked into the back seat of the
22      vehicle and saw the other subject inside.
23            Q    He was sitting behind the driver's seat?
24            A    He was in the -- kind of balled up covering
25      his head in that middle seat behind the driver's side.


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1             Q    What do you mean the "middle seat"?
2             A    It's a mini van, so they have -- I -- I don't
3       recall if it was a bench seat or if they were pilot
4       seats inside, but there was a seat behind the driver's
5       side of the vehicle where he was.
6             Q    Okay.    Was it your impression as to whether or
7       not that person was dead or alive?
8             A    I did not know.
9             Q    What did you do?
10            A    I yelled out that there's another person
11      inside the vehicle and I immediately took my dog out so
12      there would be no accidental bites of that subject.
13            Q    What did you do after that?
14            A    Took my dog out of the car.
15            Q    Did you then put your dog away into your
16      vehicle?
17            A    Yes.
18            Q    Did you do anything else after taking him out
19      of the suspect vehicle prior to putting the dog into
20      your vehicle?
21            A    Can you restate that?
22            Q    I'm just trying to see if there's anything
23      else you did prior to putting your dog into your
24      vehicle?
25            A    No.


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1              Q   Okay.    Did you have any idea what was
2       happening after you took your dog out of the vehicle?
3              A   I knew that they opened that sliding door of
4       the mini van and took custody of the guy in the back
5       seat.
6              Q   Do you know who did that?
7              A   No.
8              Q   After you put your dog into your patrol
9       vehicle then what did you do?
10             A   I went back to the scene where the mini van
11      was.
12             Q   Was the suspect driver still in the mini van?
13             A   I believe they were in the process of taking
14      him out.
15             Q   Who is "they"?
16             A   I don't know.
17             Q   Did you have any idea where the suspect that
18      was in the back seat was at the time?
19             A   He was sitting on the west curb line away from
20      the mini van in handcuffs.
21             Q   Do you know who was with him?
22             A   I do not remember.
23             Q   But you saw officers taking the driver out of
24      the vehicle?
25             A   Yes.


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1              Q   And the driver was Mr. Monzon; right?
2              A   Yes.
3              Q   And the passenger was Mr. Reyes?
4              A   Yes.
5              Q   What happened after Mr. Monzon was taken out
6       of the vehicle?
7              A   They took him to the side of the car and
8       started life saving measures on him.
9              Q   He wasn't searched?
10             A   I don't know.
11             Q   Do you know if he was handcuffed?
12             A   He was.
13             Q   Was he placed chest down initially?
14             A   I don't remember.
15             Q   What life saving measures occurred that you
16      saw?
17             A   CPR.
18             Q   Do you know who was doing CPR?
19             A   I don't remember exactly.
20             Q   Do you know if anybody was giving chest
21      compressions on Mr. Monzon?
22             A   Yes.
23             Q   Do you know why chest compressions were being
24      given?
25             A   He wasn't breathing.


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1             Q    Was anyone giving rescue breaths to
2       Mr. Monzon?
3             A    I don't remember.
4             Q    Are you trained to give rescue breaths as part
5       of CPR in the Murrieta Police Department?
6             A    If we have certain protective equipment with
7       us, yes.
8             Q    Are you issued protective equipment in order
9       to give rescue breaths in CPR?
10            MR. CHRISTIANSEN:       Objection, calls for
11      speculation.      Incomplete hypothetical.
12            THE WITNESS:     Yes.
13      BY MR. SINCICH:
14            Q    And what is that equipment?
15            A    I don't know the scientific name for it, but
16      there's some type of facial mouth piece that you can use
17      if you choose to.
18            Q    Do you keep that on your person?
19            A    I do not.
20            Q    Do you keep that in your vehicle?
21            A    Yes.
22            Q    Do you have a medical kit in your vehicle as
23      well?
24            A    I did not.
25            Q    But you did have some device that would help


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1             Q    Did a rescue ambulance ever arrive?
2             A    Yes.
3             Q    Was that the fire department?
4             A    I don't remember who showed up first.
5             Q    How long after the vehicle came to rest at the
6       end of the cul-de-sac or dead end did the rescue
7       ambulance arrive?
8             A    I would say within five minutes.
9             Q    Did they take over first aid procedures?
10            A    Yes.
11            Q    What did you do after that?
12            A    I was summoned to go away from the scene since
13      I was a person involved in the incident.
14            Q    Who summoned you away?
15            A    Sgt. Montez.
16            Q    Where did you go?
17            A    To the back -- open back hatch area of my
18      patrol car.
19            Q    Were you there with anybody else?
20            A    I know other officers were in the area, but I
21      just sat on the bumper of my car.
22            Q    Did you have any discussions with any other
23      officer while you were back there?
24            A    We're instructed not to.
25            Q    Who instructed you?


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1             A    Sgt. Montez.
2             Q    How long were you on the scene before
3       eventually leaving the scene?
4             A    I don't remember.
5             Q    Do you know ballpark how long it was?
6             A    I can't testify to an answer as far as how
7       long it was.
8             Q    Did you speak with any other officer about
9       what occurred during the incident prior to giving your
10      statement?
11            A    To the investigators?
12            Q    Prior to giving your statement.
13            A    No.
14            Q    You didn't speak to any other Murrieta Police
15      Department officer?
16            A    Just Sgt. Montez, who told me to go stand by
17      the police car.
18            Q    Okay.    I'm going to ask you --
19            MR. SINCICH:     Let me mark this as Exhibit 41.          This
20      is Bates-stamped MPD 000093 to 000104.
21                 I'm handing Exhibit 41 to Officer Mikowski.
22           (Exhibit 41 marked)
23      BY MR. SINCICH:
24            Q    Your unit designation was 102 King; correct?
25            A    Yes.


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1             Q    So when you make a radio transmission will it
2       show up on here as "102"?
3             MR. CHRISTIANSEN:       Calls for speculation.
4             THE WITNESS:     If dispatch catches it, yes.
5       BY MR. SINCICH:
6             Q    Okay.    I'm just on the first page of 093 and
7       about halfway into the page at 01:54:06, was that a
8       radio transmission that you made?
9             A    Yes.
10            Q    And what radio transmission did you make?
11            A    It says --
12            MR. CHRISTIANSEN:       Objection, the document speaks
13      for itself.
14            THE WITNESS:     "Stand by for foot bail."
15      BY MR. SINCICH:
16            Q    Did you make that radio transmission?
17            A    Yes.
18            Q    Where were you when you made that radio
19      transmission?
20            A    I don't know.
21            Q    Do you know if you were still in your vehicle?
22            A    Yes.
23            Q    Did you have an impression that a foot bail
24      was going to occur?
25            A    It was a possibility.


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1             Q    If I can refer you to Page 5 of 13.
2                  Can you see those page numbers at the bottom?
3       It's cut off on the bottom.
4             A    Yeah, but I see where you're at.
5             Q    Okay.    It's the event unit log at the bottom
6       of the page and I see that at 01:47:24 Unit 102 K was
7       dispatched; is that right?
8             A    Yes.
9             Q    How does the dispatcher making this record
10      know that you were dispatched at that time?
11            A    They either assign you to the call or I
12      radioed to dispatch telling them that I'm en route to
13      the call.
14            Q    Do you recall if you were assigned to the call
15      or whether you volunteered for the call?
16            A    I don't remember.
17            Q    Okay.    And then at the bottom of that page at
18      01:55:50, is that when you arrived?
19            A    That's what it says, but, again, there's human
20      error with this.      Either I have to tell dispatch that I
21      arrived on scene or I manually hit a button in my
22      computer.     So sometimes it's not always accurate.
23            Q    Right.    But, generally, about the time that
24      you arrived to meet with -- with Officer Zeltner you
25      either pressed the button or made a radio transmission?


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1             A    Or dispatch can see on your map that you're in
2       the general area of where the call is and they will
3       generally put you at arrived.
4             Q    Okay.    So, generally speaking, at 01:54:50
5       that's when you met up with Officer Zeltner prior to
6       turning on the lights and sirens?
7             A    That's what the call says.          I don't know
8       exactly what time it was.
9             Q    Okay.    If you look at the next page, about
10      halfway down the page, it's got your unit designation
11      again at 02:02:34.
12            A    Okay.
13            Q    And it says "arrived."
14            A    Yes.
15            Q    Where did you arrive?
16            A    It's says "Mesa and Alberta."
17            Q    Mesa Drive is where the officer-involved
18      shooting occurred; right?
19            A    Yes.
20            Q    Where is Alberta?
21            A    I don't know.
22            Q    Do you know if that's the cross street of
23      Mesa?
24            A    It may be.
25            Q    Okay.    Is it your understanding of this


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1       your unit designation?
2             A    Yes.
3             Q    What does it mean by "cleared"?
4             A    That means I'm off the call.         So I've been
5       cleared from the call.
6             Q    Is that at the conclusion of your statement?
7             A    It appears to be that time frame, yes.
8             Q    Okay.    Thanks.    I just wanted to be able to
9       understand what I'm reading when I'm reading this
10      particular record.
11                 Is it your understanding that an officer with
12      the Murrieta Police Department should only use deadly
13      force when it's objectively reasonable?
14            MR. CHRISTIANSEN:       Objection, incomplete
15      hypothetical.      It calls for speculation.
16            THE WITNESS:     Yes.
17      BY MR. SINCICH:
18            Q    Is it consistent with your training that an
19      officer with the Murrieta Police Department should only
20      use deadly force as a last resort?
21            MR. CHRISTIANSEN:       Objection, incomplete
22      hypothetical.      Misstates the policy.
23            THE WITNESS:     Yes.
24      BY MR. SINCICH:
25            Q    Were you trained that deadly force should only


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1       be used if there are no other alternatives?
2             MR. CHRISTIANSEN:       Incomplete hypothetical.
3             THE WITNESS:     Yes.
4       BY MR. SINCICH:
5             Q    Were you trained that an officer needs to
6       justify every shot?
7             MR. CHRISTIANSEN:       Objection, incomplete
8       hypothetical.
9             THE WITNESS:     Yes.
10      BY MR. SINCICH:
11            Q    Were you ever trained in conjunction with the
12      use of deadly force to have reverence for human life?
13            MR. CHRISTIANSEN:       Same objection.
14            THE WITNESS:     Can you please reword that question?
15      BY MR. SINCICH:
16            Q    Yes.    What I mean is respect for human life.
17      Is that part of your training on deadly force?
18            A    I think -- think you need to take in the
19      totality of the circumstances for the situation.
20            Q    Okay.    Did you ever undergo a tactical debrief
21      after the officer-involved shooting?
22            MR. CHRISTIANSEN:       Objection, vague.
23            THE WITNESS:     I don't remember.
24      BY MR. SINCICH:
25            Q    Do you know if it's part of Murrieta Police


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1       Department training that officers do a tactical debrief
2       after an officer-involved shooting?
3             MR. CHRISTIANSEN:       Objection, outside the scope.
4             THE WITNESS:     Yes.
5       BY MR. SINCICH:
6             Q    Is part of that tactical debrief to discuss
7       what an officer could do better?
8             A    Yes.
9             Q    Does that also include any kind of a
10      retraining that an officer may require?
11            A    If it's necessary based on results, yes.
12            Q    Did you undergo any retraining after this
13      officer-involved shooting?
14            A    No.
15            Q    Were you ever told that there were policies or
16      procedures that could have been done better by you with
17      regard to the officer-involved shooting?
18            MR. CHRISTIANSEN:       Objection, vague.      Incomplete
19      hypothetical.      Assumes facts.
20            THE WITNESS:     No.
21      BY MR. SINCICH:
22            Q    Do you take any responsibility for the death
23      of Mr. Monzon?
24            MR. CHRISTIANSEN:       Objection.
25                 Don't answer that question.


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1       BY MR. SINCICH:
2             Q    You had mentioned there weren't a lot of cars
3       on the freeway; is that correct?
4             A    What's your definition of "a lot"?
5             Q    I believe that you mentioned that there
6       weren't a lot of cars.
7                  Do you remember -- do you remember mentioning
8       that?
9             A    Yes.
10            Q    So based off your definition of not being a
11      lot of cars, is it true that there were not a lot of
12      cars on the freeway?
13            A    Yes.
14            Q    Is it true that there were also not a lot of
15      cars on the roads after you got off the freeway?
16            A    Yes.
17            Q    Can I refer you to Page 7 of 29.
18            A    Okay.
19            Q    At the bottom of the page, it's Lines -- if I
20      can start you on Line 32 --
21            A    Okay.
22            Q    -- to 34.     If you can just read that to
23      yourself, please.
24            A    Okay.
25            Q    Is this where you're describing your radio


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1       transmission to the officers that you were going to
2       utilize your canine?
3             A    It was a reminder that he may be utilized.            I
4       didn't say that I was -- it was going to happen.
5             Q    Was it your statement to investigators that
6       the canine will be utilized?
7             A    It could be utilized if there is some type of
8       foot bail, yes, the dog would be utilized.
9             Q    Was it your statement to investigators,
10      though, that the canine will be utilized?
11            A    Yes.
12            Q    On the next page, if I can refer you to
13      Lines 11 through 13.        Page 8 of 29.
14            A    Okay.    Okay.
15            Q    Is this where you're describing how you
16      received a radio call from someone that Mesa Drive is
17      going to be a dead end?
18            A    Yes.
19            Q    And do you see how it says "just be careful"?
20            A    Yes.
21            Q    What does that mean?
22            A    It's a dead end street, so just be careful.
23            Q    What do you have to be careful of since it's a
24      dead end street?
25            MR. CHRISTIANSEN:       Objection, calls for a


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1       narrative.
2             THE WITNESS:     The pursuit was most likely going to
3       terminate at that dead end.
4       BY MR. SINCICH:
5             Q    Okay.    On the same page, Lines 25 and 26 --
6             A    Okay.
7             Q    -- is it consistent with your statement that
8       when you saw Officer Zeltner getting out of the car it
9       was your impression that the suspect was trying to make
10      a U-turn?
11            MR. CHRISTIANSEN:       Objection, the document speaks
12      for itself.
13            THE WITNESS:     Yes.
14      BY MR. SINCICH:
15            Q    At that point in time, had you gotten out of
16      your vehicle yet?
17            A    I don't recall.
18            Q    If I can refer you to Page 9 of 29.
19            A    Okay.
20            Q    Lines 32 to 34.
21            A    Okay.
22            Q    Are you describing the distance between you
23      and something else?
24            A    Yes.
25            Q    What was -- and what was that distance?


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1          A    It says 10 feet.
2          Q    And what were you describing the distance
3    between you and what?
4          A    The suspect vehicle coming at me.
5          Q    That's when you were able to get off the
6    ground?
7          A    Yes.
8          Q    Was it your impression that you were being
9    shot at at all during the incident?
10         A    I did not know.
11         Q    Did it go through your head that that was a
12   possibility that you were being shot at during the
13   incident?
14         A    Yes.
15         Q    Was it your thought that it was possible that
16   the suspect driver was shooting at you?
17         A    Or other officers, yes.
18         Q    Why did you get the impression that other
19   officers could have been shooting at you?
20         A    I thought you said from the suspect shooting
21   at officers.
22         Q    Okay.   So --
23         A    Can you just restate your question, please?
24         Q    Yeah.   Was it your impression that the suspect
25   driver may have been shooting at other officers?


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1          A    Yes.
2          Q    Do you recall ever describing how other
3    officers were down range of you?
4          A    I don't recall.
5          Q    When you say the word "down range," does that
6    generally refer to being in the direction of your fire?
7          A    I wouldn't say direction.        More could be in
8    the area of your backdrop, but there is no specific
9    location that "down range" means.
10         Q    Before you deployed your canine did you feel
11   like the suspect was still a threat?
12         A    Yes.
13         Q    What was he a threat of?
14         A    He was not listening to commands.          I could not
15   see his hands.     He was unsearched at the time.          Didn't
16   know if there were any other weapons inside the vehicle
17   and we just wanted to apprehend him.
18         Q    Is it fair to say that the threat that
19   Mr. Monzon posed was you not knowing whether or not he
20   had a gun?
21         MR. CHRISTIANSEN:      Objection, misstates his
22   testimony.
23         THE WITNESS:     Can you please restate the question?
24   BY MR. SINCICH:
25         Q    I'm trying to understand what you described as


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1    the threat.
2               Is it fair to say that the threat that you
3    believed Mr. Monzon posed prior to deploying your canine
4    was the possibility that he may have a gun?
5          A    Yes.
6          Q    Can I refer you to Page 12 of 29?
7          A    Okay.
8          Q    On Line 10.
9          A    Okay.
10         Q    Did the dog bite Mr. Monzon in the head?
11         A    Yes.
12         Q    Was that prior to him biting and securing
13   Mr. Monzon's arm?
14         A    Yes.
15         Q    Did you describe to investigators that you
16   were out of your comfort zone at the time of the
17   incident?
18         A    I don't recall.
19         Q    Do you not recall saying that to
20   investigators?
21         A    I don't recall, but if my memory can be
22   refreshed I can confirm that.
23         Q    Yes.    Page 15 of 29, Lines 16 and 17.
24              Do you recall saying that to the
25   investigators?


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1    normally patrol on a street that we aren't familiar
2    with --
3          Q    Was your -- I'm sorry.
4          A    -- it's nighttime and there's a lot going on.
5          Q    Prior to using deadly force was your
6    situational awareness raised?
7          A    Yes.
8          Q    When you saw the suspect vehicle turning to
9    the left and then reversing to its right, part of your
10   situational awareness was to think that the suspect was
11   going to continue to flee?
12         MR. CHRISTIANSEN:      Objection, asked and answered.
13   Misstates prior testimony.
14         THE WITNESS:     It was a possibility, yes.
15         MR. SINCICH:     Okay.    I don't have any further
16   questions.
17              Counsel, do you?
18         MR. CHRISTIANSEN:      No.
19         MR. SINCICH:     All right.     I'd like to propose that
20   we stipulate to relieve the court reporter of her
21   custodial duties with regard to the original deposition
22   transcript; that it be sent to Mr. Christiansen's
23   office, where he will make it available for Officer
24   Mikowski to read, review and sign under penalty of
25   perjury and to make any changes that he feels -- if any


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                                    855.CENTEXT
